At the June term 1849, of the Hustings court of Danville, the grand jury presented James B. Harris and John Hickman for selling ardent spirits to be drank where sold, without a license, to Hugh Ramey. Upon this presentment an information was filed, to which the defendants pleaded jointly "not guilty;" and were tried together, when the jury found them guilty in manner and form as was alleged in the information.
"When the jury brought in their verdict, the defendants moved the Court to arrest the judgment on the grounds, *Page 601 
1st. That the information charges the offence jointly against the defendants for committing jointly one offence.
2d. That the verdict of the jury is joint against the two defendants; and the judgment of the Court, if entered up, must impose a fine upon them jointly for one offence.
But the Court overruled the motion, and gave a judgment against each of the defendants for thirty dollars, the fine imposed by the statute, for the use of the Literary fund, and the costs.
The defendants applied to the Judge of the Circuit court of Pittsylvania for a writ of error to this judgment, which was awarded. And when the cause came on to he heard, the Court with the assent of the defendants, adjourned to this Court the questions:
1st. Can two persons be jointly indicted, or proceeded against by information, for retailing ardent spirits?
2d. Is the judgment of the Hustings court of Danville right in rendering, on the finding of the jury, a several fine against each of the plaintiffs in error, for thirty dollars each; or should the Court have rendered judgment against them jointly for the sum of thirty dollars and the costs?
3d. What judgment ought the Court to pronounce in this cause?
Upon the first question adjourned, this Court is unanimously of opinion, that two or more persons may be jointly indicted for retailing ardent spirits without a license.
Upon the second question, a majority of the Court is of opinion, that the judgment of the Hustings court of Danville for several fines of thirty dollars against each of the plaintiffs in error, is correct. *Page 602 
Upon the third question adjourned, a majority of the Court is of opinion, that judgment should be rendered in the Circuit court affirming the judgment of the Hustings court of Danville.